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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK
-----------------------------------------------------------------X                     11/28/2023

In re:
                                                                         03-MD-01570 (GBD)(SN)
          TERRORIST ATTACKS ON
          SEPTEMBER 11, 2001                                                     ORDER


-----------------------------------------------------------------X

SARAH NETBURN, United States Magistrate Judge:

          The Court again addresses the briefing schedule and accompanying page limits for the

renewed motions to dismiss filed by the Kingdom of Saudi Arabia and Dallah Avco.

          After originally insisting on separate briefing, the Plaintiffs’ Executive Committees

(“PECs”) and Ashton counsel (together, “Plaintiffs”) informed the Court that they have reversed

course and plan to consolidate their submissions. See ECF No. 9445. 1 To accomplish this, they

ask for a 12-day extension to each of the remaining deadlines. See id. The Kingdom opposes any

delay and asks that the Court adjust the page limits for the Plaintiffs’ consolidated briefs to create

parity between the two sides. See ECF No. 9446. The Plaintiffs oppose page-limit reductions.

See ECF No. 9447.

          Joint briefing will benefit the Court and the parties by streamlining the arguments for and

against dismissal. Accordingly, the Court will extend the remaining briefing deadlines so the

Plaintiffs have time to combine their separate drafts. This consolidation process will reduce the

need to duplicate information across separate briefs. In recognition of that fact, the Court will

also reduce the page limits for the Plaintiffs’ consolidated briefing.




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    All ECF numbers refer to the main MDL docket, No. 03-md-01570.
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       The parties will follow this modified briefing schedule and page limits for the Kingdom’s

motion to dismiss:

          •   December 20, 2023: the Plaintiffs’ opposition (70 pages);

          •   January 31, 2024: the Kingdom’s reply (60 pages); and

          •   February 21, 2024: the Plaintiffs’ sur-reply (20 pages).

       The parties will follow this modified briefing schedule (with unchanged page limits) for

Dallah Avco’s motion to dismiss:

          •   December 20, 2023: the Plaintiffs’ opposition (40 pages); and

          •   January 31, 2024: Dallah Avco’s reply (20 pages).

SO ORDERED.



                                                    SARAH NETBURN
                                                    United States Magistrate Judge
DATED:        November 28, 2023
              New York, New York




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